                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
KCB:JPM                                              271 Cadman Plaza East
F. #2015R00270                                       Brooklyn, New York 11201



                                                     July 12, 2023


By Hand and ECF

The Honorable Kiyo A. Matsumoto
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Anthony Villani, et al.
                       Criminal Docket No. 22-405 (KAM)

Dear Judge Matsumoto:

                The government respectfully submits this letter to respond to defendant Anthony
Villani’s motion to modify the conditions of pre-trial release (ECF Dkt. Nos. 82, 82-1, 82-2),
specifically to modify his home detention to a curfew. For the reasons set forth in the
government’s initial letter concerning bail conditions (attached as Exhibit A)1 and those set forth
below, the government respectfully concurs with Pretrial Services that Villani’s conditions of
release should remain unchanged.

                First, the motion fails to meaningfully explain why a modification of release
conditions is even necessary. Although it provides “example[s]” of “unwarranted burdens,” on
the defendant, ECF No. 82 at 3, those principally relate to his work at PlayaBowls (where his
current release conditions already permit him to work until 7:00 p.m.). In this regard, the recent
defense filing provides less factual justification for a curfew to work than was offered by defense
counsel at the time of the arraignment and bond setting before the Honorable Roanne L. Mann,
United States Magistrate Judge. See ECF Dkt. No 82-1 at 14-16 (“It’s really his work primarily
that drives our request for curfew. The business operates seven days a week from 9 a.m. to 9
p.m.”); see also id. at 18-19 (The Court: And are you representing to the Court that other than
these teenagers who he supervises, there is -- he has no one working for the business, an adult
who is in charge or who assists in supervising the low-level employees . . . MR. SER: Your
Honor, there is a manager there. . .). Following a colloquy about the nature of the defendant’s

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                  This letter, which was provided to the Magistrate Clerk at the time of the arrest
and when the case was still sealed, does not appear to have been docketed by the Clerk’s Office.
It is referenced in the defense filing as the “Gov. Bond Conditions Ltr.”
work at PlayaBowls, including that co-defendant Louis Tucci was a partner of the defendant at
one of his storefronts, the government argued that the risk from an unrestricted curfew was the
defendant’s “unmonitored contact with other members of the La Cosa Nostra family.” Id. at 17.
Judge Mann then imposed home detention with GPS monitoring and leave to work (which the
government did not oppose) until 7:00 p.m., although not at the location where co-defendant
Tucci works. Id. at 23. Judge Mann noted that the defendant could make a future application,
“[b]ut for now, the Court concurs with the Government that there has to be – there should be
greater controls.” Id. at 23-24. The defense motion touches on none of the balancing of interests
and representations that Judge Mann engaged with when setting the conditions of release. Nor
has the defendant cited any meaningful change in circumstances that would favor rebalancing the
controls carefully set by Judge Mann. Further, it must be emphasized that the defendant’s
income has never principally come from his operation of smoothie stores but from his overseeing
a vast offshore gambling business that brought in millions in illegal cash. The government
respectfully submits that any claim that the defendant’s future operation of PlayaBowls is
necessary to his livelihood is antithetical to decades of conduct by the defendant.

                 Second, the motion takes a number of liberties in addressing the extortion conduct
(Racketeering Act Three) by Villani that are fundamentally irrelevant to the government’s
principal argument (then and now) that a curfew would enable the defendant to readily resume
meetings with others in the Luchese crime family. While the motion postures that the conditions
of home detention were established because of the extortion of John Doe, even a cursory reading
of the transcript and colloquy with Judge Mann reveals the condition arose primarily from the
risk of unmonitored criminal associations by the defendant. While it is certainly relevant that the
defendant threatened John Doe for non-payment of money, as explained above, the more salient
fact is that as an inducted member of the Luchese crime family, the defendant’s unrestricted
movement would lead to a high risk of new criminal conduct and his continuing in the affairs of
the crime family. See, e.g., id. at 23 (“GPS monitoring allows him to go -- Mr. Villani to go
wherever he wants. The reason the Government is so vehemently seeking home detention is
because we wouldn’t be able to know otherwise. And home detention means that he has to report
to pretrial everywhere he goes, which is the only way, we believe, to prevent his association with
members of organized crime.”). Tellingly, the defense motion fails to address the defendant’s
crime family membership, nor does it balance the request for a curfew against the dozens of
surveilled meetings between the defendant and either his co-conspirators or other La Cosa Nostra
members that took place across Westchester County (and in and around New York City), see Ex.
A, at 3 (photograph of the defendant meeting with members of Luchese family’s administration).
Meetings like the one highlighted by the government in its initial filing, between sworn members
of an indisputably violent criminal organization, see, e.g., United States v. Madonna, et al., 17-
CR-89 (CS) (S.D.N.Y.) (recent conviction of members of the Luchese family administration,
among others, for murder), are essential to the ongoing operation of this criminal enterprise. The
limitations on such meetings, as fostered by home detention, are a meaningful deterrent to
recidivism and pretrial violations, and there is no reason to upset the very balance that the
defense suggests has kept the defendant compliant (the baseline expectation of pretrial release)
while his case has been pending.

                Finally, the motion’s arguments that a curfew with GPS monitoring is equivalent
to “Villani’s every movement . . . be[ing] tracked” and would represent a meaningful
disincentive to violate are baseless. Wearing an ankle monitor can, generally, identify only one


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type of pretrial violation—going to a prohibited place. Such a violation will become irrelevant if
a curfew is granted. With leave to travel through Westchester County throughout the day and
evening hours, the ankle monitor’s location information would reveal nothing about with whom
the defendant was meeting or the purpose of any meeting he took. It would not show if he went
to a parking lot to pick up money from a bookmaker (as occurred here) or because he was
shopping. Much of the defendant’s criminal conduct in this case occurred in Westchester
County, where he suggests his travel would be “restricted” to. The defense is fully aware that
Pretrial Services does not actively follow supervisees and instead simply receives alerts when the
ankle bracelet is in a restricted zone or removed. The contentions that wearing an ankle bracelet
would lead to the “rapid[]” detection of any violation, or that limiting the defendant to the very
county where he has operated for years would “ameliorate . . . concerns” are specious.

               For these reasons and those set forth in the government’s initial letter concerning
the conditions of release pending trial, the bail conditions considered and carefully imposed by
Judge Mann should be continued.


                                                     Respectfully submitted,

                                                     BREON PEACE
                                                     United States Attorney

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cc:    Defense Counsel (by hand and ECF)
       Clerk of Court (by ECF)




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